Case 2:05-CV-02145-SHI\/|-tmp Document 33 Filed 07/07/05 Page 1 Of 5 ' Page|D 19

Fn.so ev ,f'j_ n.c.
IN THE UNITED s'rATEs DlsTRlcT COURT '
FOR THE wEsTERN DIsTRlcT oF TENNESSEE 95 JUL .. = '
wEsTERN DIvIsIoN 7 m n 3'2

THOMAS M. GOLI.D
f QERK, U.S USTWCT UBT

 

' Wt ’?»f le ijl-"“MFHS
HELEN RICHARDSON, as Administratrix for n k ic

the Estate of GEORGE RlCI-IARDSON, JR.,
Deceased, and as Legal Guardian Of` the Estate
of TAVARES RICHARDSON, a minor

Plaintiff, No. 05 - 2145 - Ma V
JURY DEMANDED
v.

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)

)

§
MARION DUGDALE, M.D.; )
CHRISTOPHER BUCHANAN, M.D.; )
PARTICIA ADAMS-GRAVES, M.D.; JOHN )
DOE, aa</a DR. BABB; CAMPBELL )
CLINIC, P.C., ROSE M. sAYGER, R.N.; and )
METHODIST HEALTHCARE )
TRANSPLANT PROGRAM, L.L.C. d/b/a UT )
BOWLD HOSPITAL. )
)

)

Defendants.

 

BRQ'PGSED`]"CONSENT ORDER CRANTING DEFENDANT'S MOTION FOR
EXTENSION OF TIME WITHIN WHICH TO FILE RESPONSES 'I`O PLAIN'I`IFF‘S
FIRST SET OF INTERROGATORIES AND REQUEST FOR PRODUCTION OF
DOCUMENTS

 

lt appearing to this Court that counsel for Plaintiff, Helen Richardson, as Adrninistratn`x
for the Estate of George Richardson, Jr., Decedent, and Legal Guardian for the Estate Of Tavares
Richardson, a minor, and Defendant, Campbell Clinic, P.C. ("Campbell Clinic"), are in
agreement that the time within which Campbell Clinic must file its responses to Plaintiff‘s First
Set Of Interrogatories and Request for Production should be extended, up to and including July

30, 2005.

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2790458'000027 07/06/05 T`~§-s document entered on tha docket sheet in mm '.lanee

with F?u’e 53 a:".:)`fer 79{21,1 FH-CP en

 

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lt is, therefore, ORDERED, ADJUDGED, and DECREED, that the time for Campbell
Clinic to file its responses to Plaintifi‘s First Set of lnterrogatories and Request for Production is
hereby extended, up to and including July 30, 2005.

SO ORDERED.

ENTER:

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CONSENTED To ANI) APPRovEl) FOR ENTRY=

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W ryan smith (18230) " ” . / ., M/éé?o>§?@)
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Attomey for Plaintiff

,M /UMW
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Attorney for Campbell Clinic, P.C.

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2790458-000027 07/06/'05

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CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and accurate copy of the above document has
been mailed to all parties in inter st, or their attorneys, by depositing same in the United States
Mail, postage prepaid on July , 2005.

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July 12, 2005 to the parties listed

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Honorable Samuel Mays
US DISTRICT COURT

